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     (209)579-2206/ (209)579-2211 Fax
 4

 5   Attorney for Defendant
     ELIAS ALVAREZ RAMIREZ
 6

 7                                  UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                      )
     UNITED STATES OF AMERICA,                          )       CASE NO. 2:09-cr-00244-MCE-1
11              Plaintiff,                              )
12
          vs.                                           )
                                                        )       STIPULATION AND ORDER TO
13   ELIAS ALVAREZ RAMIREZ,                             )       CONTINUE SENTENCING DATE
                Defendant.                              )
14
                                                        )       Date: June 12, 2014
15                                                      )       Time: 9:00a.m.
                                                        )       Honorable Morrison C. England Jr.
16

17
             IT IS HEREBY STIPULATED by and between Assistant United States Attorney Heiko
18
     P. Coppola , Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant Elias
19

20
     Alvarez Ramirez, that the sentencing date scheduled for May 1, 2014, at 9:00 a.m. be vacated

21   and the sentencing date be continued to this Court’s calendar on June 12, 2014, at 9:00 a.m.
22
     United States Probation Officer Scott Storey has not yet completed the presentencing report and
23
     additional time is needed to complete the investigation and presentencing report.	  	  
24
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 1           The court is advised that counsel have conferred about this request, that they have agreed
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     to the court date of June 12, 2014, and that Mr. Coppola has authorized Preciliano Martinez to
 3
     sign this stipulation on his behalf.
 4

 5

 6                                                               Respectfully Submitted,
 7

 8   Dated: March 21, 2014                                       /s/ Preciliano Martinez
                                                                 Preciliano Martinez
 9                                                               Attorney for Defendant
                                                                 ELIAS ALVAREZ RAMIREZ
10

11   Dated: March 21, 2014                                       /s/ Heiko P. Coppola
                                                                 Heiko P. Coppola
12                                                               Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
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16

17                                               ORDER

18           Having read and considered the foregoing stipulation, the current May 1, 2014,
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     sentencing date is hereby vacated and reset to June 12, 2014.
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             IT IS SO ORDERED.
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     Dated: March 27, 2014

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